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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 24-1103 PA (RAOx)                                         Date    February 9, 2024
 Title             L’Occitane, Inc. v. Zimmerman Reed LLP, et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                           N/A
                 Deputy Clerk                             Court Reporter                        Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 IN CHAMBERS - COURT ORDER

       The Court is in receipt of the Complaint filed by plaintiff L’Occitane, Inc. (“L’Occitane”
or “Plaintiff”). The Complaint seeks declaratory judgment, in addition to other relief, that the
California Invasion of Privacy Act (“CIPA”), California Penal Code sections 631 and 632.7 are
unconstitutional content-based restrictions on speech and unconstitutional time, place and
manner restrictions on speech under the First Amendment to the United States Constitution and
void for vagueness under the Fifth and Fourteenth Amendments to the United States
Constitution.

         Federal Rule of Civil Procedure 5.1 provides:

                    (a)     Notice by a Party. A party that files a pleading, written
                            motion, or other paper drawing into question the
                            constitutionality of a federal or state statute must promptly:
                            (1)    file a notice of constitutional question stating
                                   the question and identifying the paper that raises
                                   it, if:
                                   (A) a federal statute is questioned and the parties do
                                           not include the United States, one of its
                                           agencies, or one of its officers or employees in
                                           an official capacity; or
                                   (B) a state statute is questioned and the parties do
                                           not include the state, one of its agencies, or one
                                           of its officers or employees in an official
                                           capacity; and
                            (2)    serve the notice and paper on the Attorney
                                   General of the United States if a federal statute
                                   is questioned—or on the state attorney general
                                   if a state statute is questioned—either by
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                                certified or registered mail or by sending it to an
                                electronic address designated by the attorney
                                general for this purpose.
                 (b)    Certification by the Court. The court must, under 28 U.S.C.
                        §2403, certify to the appropriate attorney general that a statute
                        has been questioned.
                 (c)    Intervention; Final Decision on the Merits. Unless the court
                        sets a later time, the attorney general may intervene within 60
                        days after the notice is filed or after the court certifies the
                        challenge, whichever is earlier. Before the time to intervene
                        expires, the court may reject the constitutional challenge, but
                        may not enter a final judgment holding the statute
                        unconstitutional.

Fed. R. Civ. P. 5.1.

       Based on the allegations contained in Plaintiff’s Complaint, it appears that Plaintiff is
required to file the Notice contemplated by Federal Procedure 5.1 with the Court and to serve
that Notice on the Attorney General for the State of California. The Court therefore orders
Plaintiff to file and serve a Notice as provided by Federal Rule of Civil Procedure 5.1 by no later
than February 20, 2024, or, in the alternative, by that date, file with the Court an explanation as
to why such a Notice is not required.

        The Court, pursuant to Federal Rule of Civil Procedure 5.1(b) and 28 U.S.C. § 2403,
certifies to the Attorney General for the State of California, that Plaintiff’s Complaint in this
action draws into question the constitutionality of California Penal Code sections 631 and 632.7.

       Should Plaintiff file and serve a Federal Rule of Civil Procedure 5.1 Notice on the
Attorney General for the State of California, Plaintiff shall, at that same time, provide the
Attorney General with a copy of this Order and notify the Attorney General that the Court has
issued this certification.

         IT IS SO ORDERED.




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